            Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 1 of 22



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                       )
HUMANA GOVERNMENT BUSINESS, INC. )
305 N. HURSTBOURNE PARKWAY              )
LOUISVILLE, KY 40222,                   )
                                       )
            Plaintiff,                  )
                                       )
                    v.                  ) Civ. A. No. 18-1246
                                       )
DEFENSE HEALTH AGENCY                   )
7700 ARLINGTON BOULEVARD                )
SUITE 5101                              )
FALLS CHURCH, VA 22042,                 )
                                        )
            Defendant.                  )
______________________________________ )

    COMPLAINT FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

       In this “reverse FOIA” action, Plaintiff, Humana Government Business, Inc., doing

business as Humana Military (hereinafter, “Humana Military”), for its Complaint, states as

follows:

                                        JURISDICTION

       1.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331, because the action arises under the laws of the United States. Specifically, this action

arises under the Trade Secrets Act (18 U.S.C. § 1905), the Freedom of Information Act

(“FOIA”) (5 U.S.C. § 552(b)(4)) and the judicial review provisions of the Administrative

Procedure Act (5 U.S.C. §§701-706). Plaintiff also invokes this Court’s authority under 28

U.S.C. §§ 2201-2202.

                                         THE PARTIES

       2.      Plaintiff Humana Government Business, Inc. is a Delaware corporation having its

principal place of business in Louisville, Kentucky.
            Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 2 of 22



       3.      Defendant, the Defense Health Agency (“DHA”), is headquartered in Falls

Church, Virginia. DHA is an agency within the Department of Defense of the United States and

an agency as defined by the Administrative Procedure Act, 5 U.S.C. § 701(b)(l). It is also an

agency of the United States which falls within the scope of 28 U.S.C. § 1391. DHA has custody

and control over a contract awarded to Humana Military that reflects Humana Military’s

confidential and proprietary commercial and technical information.

                                             VENUE

       4.      Venue is proper in the District under 28 U.S.C. § 1391(e), 5 U.S.C. § 703, and 5

U.S.C. § 552(a)(4)(B).

                                       INTRODUCTION

       5.      This “reverse FOIA” action arises out of DHA’s final decision dated May 22,

2018 (“Release Decision”) to disclose certain confidential and proprietary commercial and

technical information of Humana Military as reflected in Contract No. HT9402-16-C-0001

between Humana Military and DHA under which Humana Military provides certain health-

related and administrative support services to TRICARE-eligible beneficiaries (e.g., current and

former military personnel and their families) under the Department of Defense’s TRICARE

program for the East Region of the United States (the “T-2017 East Region Contract”).

       6.      DHA indicated that its Release Decision is a final agency action within the

meaning of 5 U.S.C. § 704 by stating that the relevant “disclosure . . . will occur May 30, 2018”

unless Humana Military sought judicial action to prevent such disclosure.

       7.      On May 24, 2018, DHA agreed to withhold the information at issue from

disclosure pending resolution of this court action, provided that Humana Military sent DHA

notice of this filing before close of business on May 29, 2018.




                                                2
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 3 of 22



       8.      Humana Military seeks to protect from public disclosure technical

“enhancements” that Humana Military voluntarily proposed for performance of the T-2017 East

Region Contract that are in excess of the minimum technical requirements and performance

standards identified in the T-2017 Request for Proposals and that DHA subsequently

incorporated into the T-2017 East Region Contract at Section H.15. Those technical

enhancements are referred to herein as “Section H.15 Enhancements.”

       9.      The information at issue is exempt from disclosure under Exemption 4 of FOIA.

See 5 U.S.C. § 552(b). Exemption 4 protects “matters that are . . . trade secrets and commercial

or financial information obtained from a person and privileged or confidential.” 5 U.S.C.

§ 552(b)(4). The Trade Secrets Act, 18 U.S.C. § 1905, also precludes DHA from releasing

Humana Military’s proprietary and confidential commercial and technical information that is

incorporated into, or otherwise reflected in, the T-2017 East Region Contract.

       10.     Therefore, DHA’s determination that the Section H.15 Enhancements are not

exempt from release under FOIA is a violation of the Administrative Procedure Act.

       11.     Humana Military seeks a declaratory judgment that the Section H.15

Enhancements are confidential, that the release of such information would violate the Trade

Secrets Act, and that DHA’s Release Decision was and is arbitrary, capricious, an abuse of

discretion, and contrary to law. Humana Military also seeks a permanent injunction preventing

DHA from disclosing Humana Military’s confidential and proprietary commercial and technical

information as reflected in the Section H.15 Enhancements.




                                                3
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 4 of 22



                                             FACTS

                                    The TRICARE Program

       12.     DHA is a joint, integrated Combat Support Agency that enables the Army, Navy,

and Air Force medical services. DHA’s mission is to deliver integrated, affordable, and high

quality health services to Military Health System beneficiaries.

       13.     Among other things, DHA is charged with running the Department of Defense’s

TRICARE program, which is a managed health care program that provides Government-

supported healthcare to about 8.8 million active military personnel and other eligible

beneficiaries outside of military treatment facilities. Eligible members include active duty

service members and their families, military retirees and their families, and family member

survivors.

       14.     Under the TRICARE program, eligible beneficiaries have two health care options:

TRICARE PRIME (a health maintenance organization (HMO)-type plan, in which enrollees are

required to use military treatment facilities or network providers or pay higher out of network co-

payments) and TRICARE Select (a standard fee-for-service plan).

                               The T-2017 Request for Proposals

       15.     On or about April 24, 2015, DHA issued RFP No. HT9402-15-R-0002 seeking

two Managed Care Support (“MCS”) contractors to provide managed care and administrative

support services to TRICARE-eligible beneficiaries (the “T-2017 RFP”). DHA issued seven

amendments to the T-2017 RFP prior to the receipt of initial proposals on July 23, 2015.

       16.     The T-2017 procurement is the fourth generation of the MCS contracts under the

TRICARE program, which is the successor contract to the prior TRICARE contract, called “T-

3.”




                                                4
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 5 of 22



       17.     Under the T-3 contracts, the United States was divided into three regions: North,

South, and West, with one MCS Contractor responsible for each region. Under T-2017, the

North and South regions were combined, which left just two regions: East and West, with one

MCS contractor responsible for each region. The consolidation from three MCS regions to two

MCS regions increased competition for the T-2017 contracts.

       18.     The purpose of the contract is to provide managed care support services for the

TRICARE program. Specifically, the T-2017 RFP provided that “[t]he MCS Contractors

(MCSC) shall assist the Military Health System in operating an integrated healthcare delivery

system combining resources of the military’s direct medical care system and the Contractor’s

managed care support to provide health, medical and administrative support services to

TRICARE-eligible beneficiaries.” See T-2017 RFP § C.1.1.

       19.     Through the T-2017 procurement, DHA sought to enter into a MCS contract for

two regions: (a) an East Region with approximately 5.9 million TRICARE-eligible beneficiaries

and (b) a West Region with approximately 2.9 million TRICARE-eligible beneficiaries.

       20.     Under each MCS contract, MCS contractors would perform administrative

services necessary to support the TRICARE program and the provision of healthcare to

TRICARE beneficiaries, as identified in Section C.2 of the RFP, which included (a) establishing

and maintaining provider networks; (b) managing referrals between military treatment facilities

and the civilian network; (c) managing beneficiary enrollment; (d) providing medical

management services (including utilization management, case management, and chronic

care/disease management); (e) providing customer service for both beneficiaries and providers;

and (f) processing claims.




                                                5
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 6 of 22



       21.     In performing the MCS services, the MCS contractor must comply with

applicable federal statutes, regulations, and TRICARE manuals. The following four TRICARE

manuals are incorporated by reference into the RFP: TRICARE Operations Manual (“TOM”),

TRICARE Policy Manual (“TPM”), TRICARE Reimbursement Manual (“TRM”), and the

TRICARE Systems Manual (“TSM”). The TOM provides standards for TRICARE MCS

contractor operations that are relevant to the technical requirements for the T-2017 contracts.

       22.     Pursuant to the T-2017 RFP, MCS contractors for the TRICARE program must

“underwrite the cost of civilian healthcare services provided to all TRICARE-eligible

beneficiaries who are enrolled in the contract region, or for nonenrollees who reside in the

contract region” except for certain identified non-underwritten categories. T-2017 RFP § H.1.1;

see also 10 U.S.C. § 1072(7) (“The term ‘TRICARE program’ means the managed health care

program . . . and includes the competitive selection of contractors to financially underwrite the

delivery of health care services[.]”).

       23.     Consistent with the Congressional goals of the TRICARE program, the T-2017

RFP provided for certain underwriting mechanisms by which the MCS contractors would assume

certain financial risks based on each contractor’s ability to manage certain healthcare costs. T-

2017 RFP § H.2.

                           Best Value Award of the T-2017 Contracts

       24.     In selecting MCS contractors, Congress has directed DHA to make award to

contractors that “provide the best value to the United States to the maximum extent consistent

with furnishing high-quality health care in a manner that protects the fiscal and other interests of

the United States.” 10 U.S.C. § 1073a(a). In making this determination, DHA must afford

greater weight to technical factors as compared to price. 10 U.S.C. § 1073a(b).




                                                 6
              Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 7 of 22



       25.      Consistent with its statutory mandate, the T-2017 RFP contemplated award to the

offeror whose proposal provided the best value to the government in each region, stating that

“[t]he Government seeks to award to the Offeror who meets or exceeds the requirements and gives

DHA the best value.” T-2017 RFP § M.2.1.

       26.      To identify the offeror proposing the “best value,” the T-2017 RFP committed

DHA to evaluate each proposal against the following factors and subfactors:

             A. Factor 1 – Technical/Management

                    i.   Subfactor 1 – Network Management

                  ii.    Subfactor 2 – Referral Management

                 iii.    Subfactor 3 – Medical Management

                 iv.     Subfactor 4 – Customer Service

                    v.   Subfactor 5 – Claims Processing

                 vi.     Subfactor 6 – Program Planning and Control

                 vii.    Subfactor 7 – Transition Management

             B. Factor 2 – Past Performance

             C. Factor 3 – Price/Cost

             D. Factor 4 – Small Business Participation

       27.      The T-2017 RFP provided that the evaluation of each offeror’s proposed

Technical/Management approach would be one of the two most important evaluation factors for

DHA in making its award decision. Factor 1 (Technical/Management) and Factor 2 (Past

Performance) were of equal weight and, individually, were each more important than Factor 3

(Price/Cost). Factor 4 (Small Business Participation) was evaluated on an acceptable/non-

acceptable basis.




                                                 7
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 8 of 22



       28.     For Factor 1, the T-2017 RFP provided that each subfactor would receive a

Technical/Management rating and a proposal risk ratings.

       29.     For the seven subfactors in Factor 1, Subfactor 6 was most important, Subfactor 7

was the next most important and more important than Subfactors 1 through 5 individually, and

Subfactors 1 through 5 were weighted equally.

       30.     For the Factor 1 (Technical/Management) rating, the T-2017 RFP stated that,

“[f]or each of the subfactors of the Technical/Management factor, the Government will evaluate

the quality of the Offeror’s technical solution for meeting the Government’s requirement and

assign a Technical Rating . . . [that depicts] how well it satisfies the Government’s requirements

for the subfactors.” T-2017 RFP §§ M.5, M.5.1.1.1.

       31.     The possible technical ratings were Blue/Outstanding, Purple/Good,

Green/Acceptable, Yellow/Marginal, and Red/Unacceptable.

       32.     For the Factor 1 (Technical/Management) risk factors, the T-2017 RFP stated that

“the Government will assess the degree to which the proposed approach has the potential for

disruption of schedule, increased cost, degradation of performance, the need for increased

Government oversight, and the likelihood of unsuccessful contract performance.” T-2017 RFP

§ M.6.1.

       33.     The possible risk ratings were Low, Moderate, and High.

       34.     The T-2017 RFP sought written technical proposals from the offerors that would

effectively demonstrate to DHA each offeror’s understanding of the requirements, and provide a

successful technical solution for the prospective contract.




                                                 8
              Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 9 of 22



             The T-2017 RFP Invited Offerors to Propose Technical Enhancements

       35.      The T-2017 RFP invited, but did not require, offerors to propose Technical

enhancements by proposing elements that would “exceed the Government’s minimum

requirements including performance standards that exceed the minimum standard or additionally

offered performance standards.” T-2017 RFP § L.6.1.

       36.      Offerors who chose to propose Technical enhancements were instructed to submit

a separate list of the proposed enhancements and to provide enforceable contract language so that

the Government, at its discretion, could incorporate some, none, or all of the proposed

enhancements into the awarded contract if the Government determined that the proposed

enhancements exceeded the minimum requirements or standards and were in the best interests of

the Government. T-2017 RFP § L.6.1.

       37.      After internal discussions and deliberation, Humana Military voluntarily

submitted proposals to perform the T-2017 East Region Contract and the T-2017 West Region

Contract. Humana Military’s voluntary decision to submit proposals was based on its

assessment of the potential economic benefits and risks. Humana Military was not compelled

either legally or economically to submit a proposal for either Region’s contract.

       38.      Humana Military also identified and voluntarily elected to propose Technical

enhancements to distinguish itself from its competitors. Humana Military evaluated and

proposed an interrelated set of Technical enhancements that would work together as part of

Humana Military’s broader Technical proposal strategy that focused on high quality healthcare

while balancing the need for a competitive administrative price and cost control.

       39.      As applicable, Humana Military also voluntarily submitted proposed contractual

language reflecting its proposed Technical enhancements so that DHA could incorporate those




                                                9
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 10 of 22



proposed enhancements into the awarded contract if DHA agreed that the proposed

enhancements exceeded the RFP’s minimum requirements or standards and were in the best

interests of the Government.

       40.     Humana Military’s proposed Technical enhancements were integral to its overall

strategy of enhancing common tools of any managed care program to achieve the right balance

of administrative costs, cost savings, and value to beneficiaries.

       41.     Humana Military clearly marked its confidential proposal submissions with a

legend pursuant to 48 C.F.R. § 52.215-1(e) to restrict their disclosure, consistent with the

company’s strict practice of closely guarding this type of information.

       42.     Three other managed health care companies, including UnitedHealth Military &

Veterans Services, LLC, Health Net Federal Services, LLC, and WellPoint Military Care

Corporation (Anthem Health), submitted proposals for the award of the T-2017 East Region

Contract. Humana Military, UnitedHealth Military & Veterans Services, LLC, and Health Net

Federal Services, LLC submitted proposals for the T-2017 West Region Contract.

                                     DHA’s Award Decision

       43.     Based on its evaluation, DHA determined that Humana Military’s East and West

Region proposals offered the best value in both the East and West Regions.

       44.     Consistent with Humana Military’s strategy and as demonstrated by DHA’s own

evaluation, the proposed Technical enhancements – now the Section H.15 Enhancements –

provided a basis on which to differentiate Humana Military from its competitors in DHA’s

evaluation under the Technical/Management Factor; those technical enhancements directly

contributed, either individually or combined, to (a) DHA’s assessment of very high ratings under

each Technical subfactor (mostly ratings of “Outstanding” or “Good”) and (b) the Government’s




                                                 10
               Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 11 of 22



decision that Humana Military’s proposal offered the best value in the East Region (and the West

Region). Indeed, DHA “concluded that Humana’s proposal was superior to the other three

proposals under the non-price/cost evaluation factors . . . .” See UnitedHealth Military &

Veterans Services, LLC, B-411837.2 et al., Nov. 9, 2016, 2016 CPD ¶ 329 at 8.

        45.      The T-2017 RFP expressly provided that if an offeror was determined to be the

best value in both regions, the offeror would be awarded the East Region Contract.

        46.      On July 21, 2016, DHA notified offerors of the decision to award the MCS

Contract for the East Region to Humana (and to award the West Region to Health Net Federal

Services, LLC, who was evaluated as the next best value proposal for the West Region after

Humana Military’s very highly rated proposal).

        47.      Because DHA determined that certain of Humana’s proposed Technical

enhancements exceeded the RFP’s minimum requirements, it incorporated those into Section

H.15 of the T-2017 East Region Contract. These are the Section H.15 Enhancements at issue in

this action.

                 DHA’s Annual Determination of a “FOIA Releasable Contract”

        48.      The T-2017 East Region Contract provides for Humana Military to submit, for

each option period, a single conformed copy of the current contract, including modifications, and

to identify in that copy, with brackets, portions of the contract that Humana Military proposes as

exempt from release under FOIA, citing the applicable FOIA Exemptions invoked for each

bracketed area. See T-2017 East Region Contract, § F.3 & Contract Data Requirements List

(“CDRL”) Item A1110 (“FOIA Releasable Contract”). CDRL Item A1110 explains that this

submission will assist DHA “in its final determination of a releasable version of the contract” for

each option period. Id., CDRL A1110.




                                                 11
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 12 of 22



       49.     On March 27, 2017, after contract award and the resolution of bid protests that

had stayed contract performance, Humana Military provided its first submission to DHA with

proposed redactions of the T-2017 East Region Contract and identified portions of the contract

that are exempt from disclosure under the Freedom of Information Act, 5 U.S.C. § 552, and the

Trade Secrets Act, 18 U.S.C. § 1905.

       50.     In its March 2017 submission, Humana Military identified five categories of

information that should be withheld from disclosure and provided an analysis addressing its

justification for exempting from release under FOIA the following categories of information:

     A. Unit and CLIN prices

     B. Performance standard and incentive percentages and values

     C. Performance requirements in excess of RFP requirements (the Section H. 15
        Enhancements)

     D. Personal contact information for Humana Military Executive officials

     E. Subcontracting Plan expenditures and percentages by small business category

       51.     After review of Humana Military’s March 27, 2017 submission, DHA determined

that the five categories identified by Humana Military, including the Section H.15

Enhancements, would be redacted and withheld from public disclosure pursuant to applicable

exemptions under FOIA.

                       DHA’s 2018 Decision to Release Section H.15
                      Enhancements Previously Withheld Under FOIA

       52.     On January 18, 2018, Humana Military again followed the procedures outlined

under CDRL Item No. A110 for identifying a FOIA releasable contract for the first option

period. Again, Humana Military provided DHA with a copy of the T-2017 East Region Contract

with proposed redactions for information related to the same five categories, identified above,

bracketed and highlighted in red boxes.


                                                12
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 13 of 22



       53.     Humana Military also provided DHA with its legal and factual analysis

supporting its objection to the public disclosure of this voluntarily submitted confidential and

proprietary information that was incorporated into or reflected in the T-2017 East Region

Contract.

       54.     On April 12, 2018, DHA responded to Humana Military’s January 18 letter. As

relevant to this action, although DHA stated that it intended to withhold most of the information

for which Humana Military had identified as exempt from disclosure under FOIA, DHA reversed

course with respect to the Section H.15 Enhancements.

       55.     DHA did not provide any reason or rationale explaining its decision to reverse

course from its 2017 decision in which it had determined that FOIA exemptions applied to

protect the Section H.15 Enhancements from public disclosure. Instead, DHA’s April 12 letter

acknowledged that Humana Military’s argument that it “need not show actual competitive harm

has some merit and accuracy,” but also stated that Humana Military had failed to sufficiently

justify the applicability of Exemption 4(b) of FOIA to the Section H.15 Enhancements.

       56.     DHA’s April 12, 2018 letter provided Humana Military an opportunity to submit

additional evidence to justify why the disclosure of the Section H.15 Enhancements would cause

Humana Military competitive harm. DHA further stated that Humana Military must “provide

evidence revealing actual competition and a likelihood of substantial competitive injury

sufficient to bring commercial information under FOIA Exemption 4(b).”

       57.     On April 19, 2018, Humana Military provided additional evidence to support its

request to protect from disclosure the Section H.15 Enhancements.

       58.     Humana Military’s April 19 submission included a six page letter setting forth, in

detail, additional legal and factual analysis supporting Humana Military’s position.




                                                13
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 14 of 22



       59.     Humana Military’s April 19 submission also included a declaration from the Vice

President and Chief Financial Officer of Humana Government Business.

       60.     The Chief Financial Officer provided sworn testimony demonstrating that the

information at issue is customarily kept confidential by Humana Military and explaining how

Humana Military protects such information from public disclosure. He described a robust set of

standard operating procedures which protects proposal information during the proposal

preparation phase and requires employees to sign non-disclosure agreements related to Humana

Military’s proprietary information. He also described that Humana Military has a policy and

standard practice to place a legend on proposal submissions with a proprietary notice stating that

the documents should not be disclosed. The Chief Financial Officer stated that consistent with

Humana Military’s policy, the restrictive legend appeared on every page of its proposal,

including those containing Humana Military’s proposed Technical enhancements.

       61.     The April 19 submission also confirmed that Humana Military had voluntarily

proposed confidential and proprietary Technical enhancements to exceed the minimum

requirements for performance of the T-2017 East Region Contract.

       62.     The Chief Financial Officer’s testimony demonstrated that he was involved in the

preparation of Humana Military’s proposal for the T-2017 East Region Contract. He confirmed

that a key element of Humana Military’s competitive strategy in response to the T-2017 RFP was

to propose Technical enhancements because the T-2017 RFP provided that the Government

sought to make “award to the Offeror who meets or exceeds the requirements and gives DHA the

best value.” The Chief Financial Officer testified that Humana Military devoted significant time

and resources to identify and propose Technical enhancements that would differentiate Humana

Military from a potential lower cost managed care provider.




                                                14
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 15 of 22



       63.     Humana Military’s April 19 submission also provided additional justification to

substantiate the case for protection of the Section H.15 Enhancements based on Humana

Military’s knowledge of the fierce competition in the managed health care services market and

the likely substantial harm to Humana Military’s competitive position if DHA were to release the

Section H.15 Enhancements.

       64.     Humana Military’s April 19 submission demonstrated again that there exists a

highly-competitive, multibillion dollar market to provide managed healthcare services to the

Government in support of TRICARE and similar programs. Indeed, four well-qualified managed

healthcare companies, including past TRICARE contractors, Humana Military, UnitedHealth

Military & Veterans Services, LLC, and Health Net Federal Services, LLC submitted proposals

for the award of the T-2017 East Region Contract.

       65.     The Chief Financial Officer’s declaration provided evidence demonstrating that

the release of the information at issue would likely cause substantial competitive harm to

Humana Military in competing for current and future work because many of the same major

healthcare companies that submitted proposals for the T-2017 East Region Contract are likely to

compete against Humana Military for other TRICARE contracts, other Federal managed care

contracts, and managed healthcare contracts involving similar requirements and size.

       66.     The Chief Financial Officer testified that the disclosure of Humana Military’s

Section H.15 Enhancements would provide Humana Military’s competitors an opportunity to

duplicate Human Military’s successful technical approach, without its competitors’ investing the

same time and resources as Humana Military and without providing Humana Military equal

access to its competitors’ proposed technical approach. As a result, Humana Military’s




                                                15
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 16 of 22



competitors would be in an improved position to compete more effectively against Humana

Military in future managed health care procurements.

       67.     On May 4, 2018, DHA responded to Humana Military’s April 19 submission and

stated, “DHA also finds there are portions your office identified as exempt, performance

requirements in excess of Request for Proposal (RFP) requirements (Contract § H.15, H31-H37)

. . . which shall be released since disclosure will not reasonably cause substantial competitive

harm to your organization.”

       68.     DHA did not provide any additional detail or guidance supporting its decision to

disclose the Section H.15 Enhancements.

       69.     On May 9, 2018, DHA nonetheless provided Humana Military an opportunity to

submit supplemental evidence supporting its claims that the Section H.15 Enhancements should

be withheld from public release under FOIA.

       70.     On May 18, 2018, Humana Military provided supplemental support for its

proposed redactions of the Section H.15 Enhancements.

       71.     In its May 18 submission, Humana Military explained how the disclosure of

Humana Military’s Section H.15 Enhancements would likely result in substantial competitive

harm to Humana Military. Specifically, Humana Military provided a supplemental declaration

from its Vice President and Chief Financial Officer that further explained how each enhancement

identified in Section H.15 reflects key elements of Humana Military’s competitive strategy in

response to the T-2017 RFP to differentiate Humana Military from its potentially lower price

competitors.

       72.     The supplemental declaration also included a chart describing in detail the

technical merit and value of each enhancement identified in Section H.15 of the T-2017 East




                                                16
              Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 17 of 22



Region Contract and how each enhancement provides added value to DHA, Military Treatment

Facilities, and TRICARE beneficiaries and, thus, a competitive advantage to Humana Military.

        73.     Humana Military’s May 18 submission described how Humana Military’s Section

H.15 Enhancements will continue to provide significant competitive advantages for TRICARE

contracts, including upcoming procurements for other managed care aspects of the TRICARE

program (even if Congress makes changes to the current TRICARE program) as well as other

Federal managed healthcare contracts.

        74.     On May 22, 2018, DHA sent a letter to Humana Military informing Humana

Military that it agreed that “Unit and CLIN prices, performance standard and incentive

percentages and values, personal contact information from Humana Military Executive officials,

and small business dollar amounts” were exempt from disclosure pursuant to Exemption 4 of

FOIA.

        75.     However, DHA’s letter also stated that it had decided not to protect from

disclosure any of the Section H.15 Enhancements that Humana Military had identified for

redaction. As relevant to this action, the entire text of DHA’s Release Decision follows:

“Nevertheless, the DHA also finds there are portions your office identified as exempt,

performance requirements in excess of RFP requirements (Contract § H.15, H31-H37) . . . which

shall be released since disclosure will not reasonably cause substantial competitive harm to your

organization. Consequently, disclosure of T-2017 East Region contract with government

approved redactions will occur May 30, 2018, absent your office obtaining judicial relief to the

contrary.” DHA’s letter did not provide any other rationale or explanation for its determination

to release the Section H.15 Enhancements over Humana Military’s objection.




                                                17
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 18 of 22



       76.     If DHA proceeds with release of the above-identified proprietary and confidential

information and technical information, Humana Military will be irreparably harmed because it

would be impossible to make this information confidential again and because such release would

cause it to suffer substantial competitive harm compared to its competitors.

       77.     Humana Military seeks to protect from release an integrated list of proposed

enhancements to its technical approach providing processes, insights, and context that are not

publicly available and that Humana Military customarily keeps confidential. Moreover, if the

Section H.15 Enhancements are publicly disclosed, DHA would effectively provide a blueprint

for Humana Military’s competitors of the elements that Humana Military developed to win

TRICARE competitions, allowing competitors to duplicate, to a large degree, the same Technical

approach plan at Humana Military’s expense, while at the same time attempting to minimize or

eliminate Humana Military’s competitive advantage. The very fact that these Technical

elements were incorporated into the T-2017 East Region Contract as Section H.15 Enhancements

is what makes them competitively useful to Humana Military’s competitors and the release of

this integrated set of the enhancements would cause substantial competitive injury to Humana

Military.

       78.     Humana Military has exhausted all the available administrative remedies provided

by DHA, as evident by the Release Decision’s statement that Humana Military should seek

judicial action to prevent disclosure of the Section H.15 Enhancements.

       79.     Humana Military lacks an adequate alternative remedy at law.

       80.     The Government, DHA, and the public at large will not be harmed by withholding

from public release Humana Military’s Section H.15 Enhancements, and any possible harm they




                                                18
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 19 of 22



would suffer is substantially outweighed by the irreparable injury certain to occur to Humana

Military.

       81.     The requested relief also protects the public interest by preserving the competitive

process in government contracting. The public interest is also served by ensuring that Humana

Military and other similarly situated managed care companies involved in similar procurements

are not subject to having their confidential and proprietary Technical proposal information

disclosed, and are able to fairly and equally compete for such contracts.

                                            COUNT I

                      Violation of Administrative Procedure Act:
        DHA’s Proposed Disclosure Is in Excess of Statutory Authority Under FOIA

       82.     Humana Military realleges paragraphs 1 through 81 as if fully stated herein.

       83.     FOIA authorizes agencies to disclose certain information upon a request for

records. 5 U.S.C. § 552(a). Exemption 4 of the FOIA, however, exempts privileged or

confidential commercial or financial information from the application of the statute. 5 U.S.C.

§ 552(b).

       84.     The Section H.15 Enhancements at issue reflect information that is obtained from

a person (Humana Military) and that is Humana Military’s confidential commercial or financial

information.

       85.     The disclosure by DHA of the information at issue here is exempt from

mandatory disclosure under FOIA. 5 U.S.C. §552(b).

       86.     DHA has failed to provide an explanation or rationale to support its determination

that a FOIA Exemption did not apply and, therefore, the proposed disclosure is per se arbitrary

and capricious. DHA’s apparent determination that the information at issue is not exempt from

mandatory disclosure under FOIA was arbitrary and capricious, an abuse of discretion, not in



                                                19
             Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 20 of 22



accordance with law, and the result of a severely defective administrative procedure, and

therefore violated the Administrative Procedure Act, 5 U.S.C. §§ 701-706.

       87.     Accordingly, this Court should issue declaratory relief in Humana Military’s

favor as set forth in the Prayer for Relief, set aside the Release Decision, and permanently enjoin

DHA from releasing the information identified above.

                                             COUNT II

                        Violation of Administrative Procedure Act:
                    DHA’s Proposed Release Violates the Trade Secrets Act

       88.     Humana Military realleges paragraphs 1 through 87 as if fully stated herein.

       89.     The disclosure by DHA of the information at issue here is prohibited by the Trade

Secrets Act, 18 U.S.C. § 1905.

       90.     The Trade Secrets Act provides, among other things, that any government officer

or employee who publishes, discloses, or makes known in any manner, or to any extent not

authorized by law any information received in the course of employment that relates to trade

secrets, confidential statistical data, or amounts of any income, profits, or losses, shall be fined or

imprisoned, and shall be removed from office or employment. 18 U.S.C. § 1905. Furthermore,

when proprietary commercial and technical information falls within Exemption 4 of the FOIA,

the government is precluded from releasing it under the Trade Secrets Act.

       91.     It is not clear that DHA even considered whether the information at issue falls

within the scope of the Trade Secrets Act, 18 U.S.C. § 1905. To the extent that DHA made any

determination that the information at issue does not fall within the scope of the Trade Secrets

Act, it was arbitrary and capricious, an abuse of discretion, not in accordance with the law, the

result of a severely defective administrative procedure, and therefore violated the Administrative

Procedure Act, 5 U.S.C. §§ 701-706.



                                                  20
              Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 21 of 22



        92.      Accordingly, this Court should issue a declaratory relief in Humana Military’s

favor as set forth in the Prayer for Relief, set aside the Release Decision, and permanently enjoin

DHA from releasing the information identified above.

                                       PRAYER FOR RELIEF

        WHEREFORE, Humana Military requests this Court to:

      i.         Declare that the Section H.15 Enhancements are exempt from release under

FOIA;

     ii.         Declare that the information at issue was voluntarily submitted to DHA, that it is

customarily kept confidential by Humana Military, and that the information at issue therefore

falls within the scope of FOIA Exemption 4, 5 U.S.C. § 552(b)(4), and the Trade Secrets Act, 18

U.S.C. § 1905;

    iii.         In the alternative, declare that the information at issue is customarily kept

confidential by Humana Military and that the information at issue therefore falls within the scope

of FOIA Exemption 4, 5 U.S.C. § 552(b)(4), and the Trade Secrets Act, 18 U.S.C. § 1905;

     iv.         In the alternative, declare that the information at issue is confidential, that its

release to the public would likely cause Humana Military substantial competitive injury, and that

the information at issue therefore falls within the scope of the FOIA Exemption 4, 5 U.S.C.

§ 552(b)(4), and the Trade Secrets Act, 18 U.S.C. § 1905;

     v.          Set aside DHA’s decision to release the Section H.15 Enhancements and declare

that decision as arbitrary and capricious, an abuse of discretion, and not in accordance with law;




                                                    21
           Case 1:18-cv-01246 Document 1 Filed 05/29/18 Page 22 of 22



    vi.       Permanently enjoin DHA, its officials, officers, employees, agents, contractors,

and affiliate entities from disclosing the Section H.15 Enhancements; and

    vii.      Grant such other and further relief as may be just and proper.



                                            Respectfully submitted,

                                            /s/ Paul R. Hurst
                                            ______________________________
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                                               22
